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 8                         UNITED STATES DISTRICT COURT
 9                       SOUTHERN DISTRICT OF CALIFORNIA
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11    CHRISTOPHER BLASZYK,                             Case No.: 15-cv-1683 BEN (RBB)
12                                     Plaintiff,
                                                       ORDER GRANTING JOINT
13   v.                                                MOTION TO DISMISS
14   AMERICAN ADJUSTMENT BUREAU,
     INC.,
15
                                     Defendant.
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18         Before this Court is a Joint Motion to Dismiss Action with Prejudice, filed by
19   Plaintiff Christopher Blaszyk and Defendant American Adjustment Bureau, Inc. (Docket
20   No. 11.) For good cause shown, the Joint Motion is GRANTED. The action is
21   DISMISSED WITH PREJUDICE. Each Party shall bear its own fees and costs. The
22   Clerk may close the case.
23         IT IS SO ORDERED.
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      Dated: February £,2016
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                                                    Hon. Roger T. Benitez
27                                                  United States District Judge
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